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                     IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

 CONFECTIONERY ARTS
 INTERNATIONAL, LLC,
                 Plaintiff

                v.
                                            Civil Action No.: 3:17-cv-00108-KAD
 SUNFLOWER SUGAR ART USA,
 INC., ET AL,
              Defendants

               JOINT MOTION TO MODIFY SCHEDULING ORDER

        Pursuant to Rule 16 of the Federal Rules of Civil Procedure, and for the

reasons enumerated in the accompanying Memorandum, the Parties jointly move

this Court to modify the Scheduling Order. This is the Parties’ second request to

modify the Scheduling Order. The Parties do not need to move the trial ready

date. However, the Parties need additional time to complete certain discovery

and request the following amended deadlines:

   •    Fact Discovery to Be Completed by 10/26/18

   •    Dispositive Motions Due by 11/21/18

        The Parties believe that granting of the present motion will not disrupt the

schedule for trial and will ensure that the Court will have before it an

appropriately complete factual record on which to decide the important issues in

this case.
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Dated:        September 21, 2018

Respectfully Submitted,


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